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                                                                                                          CLERK'S OFFICE U.S. DIST. COURT
                                                                                                                 AT ROANOKE, VA
                                                                                                                      FILED

                                                        IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                                                                                                 JUL
                                                                 ROANOKE DIVISION                           BY:

                     UNITED STATES OF AMERICA                                 )
                                                                              )   Criminal Action No.7:17CR00025
                     v.                                                       )
                                                                              )   MEMORANDUM OPINION
                     REGAN DWAYNE REEDY and                                   )
                     SUSAN ANNETTE REEDY,                                     )   By: Hon. Glen E. Conrad
                                                                              )   United States District Judge
                                Defendants.                                   )


                                On September 8, 2017, Regan Dwayne Reedy filed a pro se submission that the court

                     construes as a motion to dismiss the indictment. Mr. Reedy argues that the federal government

                     has "no standing, authority or jurisdiction to 'charge' the spiritual man, Regan Dwayne Reedy,

                     with any of its dead written laws (codes)"; that he is not a "person" subject to the provisions of

                     the United States Code; and that the court has "absolutely no jurisdiction" over a spiritual man

                     "unless Jesus Christ, God and the New Testament is all a lie." Docket No. 96 at 41, 71 & 74.

                                Mr. Reedy's arguments clearly lack merit. Pursuant to 18 U.S.C. § 3231, federal district

                     courts have exclusive original jurisdiction over· "all offenses against the laws of the United

                     States." Such offenses include violations of 18 U.S,C. §§ 152 and 371, the crimes charged in the

                     indictment.         Mr. Reedy's jurisdictional arguments have no basis in the law and have been

                     rejected by other courts as frivolous. As the United States Court of Appeals for the Seventh

                     Circuit aptly stated, "[r]egardless of an individual's claimed status of descent, be it as a

                     'sovereign citizen,' a 'secured-party creditor,' or a 'flesh-and-bloodhuman being,' that person is

                   - not beyond the jurisdiction of the courts. These theories should be rejected summarily, however

                     they are present~d." United States v. Benabe, 654 F.3d 753, 767 (7th Cir. 2011); see also United

                     States v. Garcia, 684 F. App'x 589 (8th Cir. 2017) (summarily rejecting the defendant's

                     jurisdictional challenge based on the assertion that he is a "private, sovereign, flesh and blood
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man"); United States v. Davis, No. 5:11-CR-00032-RLV-DSC, 2012 U.S. Dist. LEXIS 30147, at

*3 (W.D.N.C. Mar. 7, 2012), affd, 539 F. App'x 279 (4th Cir. 2013) (rejecting as patently

frivolous the defendant's argument that he, as "the living man," was removed from the court's

jurisdiction).

        For these reasons, Mr. Reedy's motion to dismiss the indictment must be denied. The

Clerk is directed to send copies of this memorandum opinion and the accompanying order to the

defendants and all. counsel of record.

        DATED: This 111XJ day of September, 20 17.



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                                                      United States District Judge




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